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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No.: 9:20-cv-81300-DMM

 

SHEA DRYDEN,
Plaintiff,
VS.
RAPID AUTO LOANS, LLC,
Defendant.
/
NOTICE OF SETTLEMENT

 

Defendant, Rapid Auto Loans, LLC, by and through its undersigned counsel, and
pursuant to the applicable S.D. Fla. Local Rules, hereby files this Notice of Settlement of All
Claims, and in support thereof, Defendant states as follows:

1. The Parties have reached a settlement being which will resolve all pending claims
in this lawsuit, including attorneys’ fees and costs. Accordingly, the Parties and their attorneys
are in the process of preparing more formal settlement documents, finalizing and exchanging
documents and settlement proceeds.

2. The Parties intend to promptly seck dismissal with prejudice in the near future,
subject only to the foregoing formalities.

3. Moreover, there are no pending motions before the Court which require any of the
Court’s attention.

4, Finally, the Parties hereby notify the Court that this lawsuit is currently scheduled
on the Court’s two-week trial docket commencing April 12, 2021, with Calendar Call scheduled

to be held on April 7, 2021, pursuant to the Order Referring Case and Setting Trial Date [D.E. 6].
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CERTIFICATE OF SERVICE
WE HEREBY CERTIFY that on March 4, 2021, we electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. We further certify that we either mailed
the foregoing document and the Notice of Electronic Filing by first class mail to any non
CM/ECF participants and/or the foregoing document was served via transmission of Notice of
Electronic Filing generated by CM/ECF to any and all active CM/ECF participants.
Respectfully submitted,

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SERVICE LIST
Shea Dryden v. Rapid Auto Loans, LLC
CASE NO.: 9:20-ev-81300-DMM

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